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( CLER FILED
: K, U.S. DISTRICT COURT

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

Case No. CV_17-07639 SJO Date: (ALCL CD

Time _ CPL

JURY NOTE NUMBER /
THE JURY HAS REACHED A UNANIMOUS VERDICT

o THE JURY REQUESTS THE FOLLOWING:
WHATS LAMM ON fCEBNS 2
WE NCE? A SCofPPE APSAIETE |
ALL 2U ST ARILVVE 70 YE
SME LBBECY! Ate Ly MAAVO TY

 

 

 

 

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SIGNED: | Fove fPersan f
So'sa0 here

 
